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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :     CRIMINAL NO.
                                                :
              v.                                :     MAGISTRATE NO. 21-CR-609
                                                :
 JEREMY BROWN,                                  :     VIOLATIONS:
                                                :
                       Defendant.               :     18 U.S.C. § 1752(a)(1)
                                                :     (Entering and Remaining in a Restricted
                                                :     Building or Grounds)
                                                :     18 U.S.C. § 1752(a)(2)
                                                :     (Disorderly and Disruptive Conduct in a
                                                :     Restricted Building or Grounds)
                                                :


                                      Joint Status Report

       The United States and stand by counsel for Jeremy Brown respectfully file this joint status

report, as requested by Your Honor at the last status hearing. The parties make the following

representations:

       1) Defendant Brown’s ongoing case in the Middle District of Florida (8:21-cr-348-SCB-

           SPF) will proceed to trial on October 3, 2022.

       2) On June 9, 2022, an investigator working on behalf of Defendant Brown received a

           hard drive from the undersigned government counsel containing all discovery

           previously provided to defendants in the related case of 22-cr-15 (U.S. v. Stewart

           Rhodes et all). The hard drive contained multiple terabytes of data. Stand by counsel

           for Defendant Brown subsequently mailed the hard drive to the Florida facility where

           Defendant Brown is held.

                                            Respectfully submitted,

                                            MATTHEW GRAVES
                                            U.S. ATTORNEY
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